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                        EXHIBIT 70
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                                                                                                                                                          4       70
                                                                                                                                                               FL-105/GC-120
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                       FOR COURT USE ONLY
  PARTY WITHOUT ATTORNEY
-HEIDI MARIE BROWN
  385 STRAWBERRY LANE
  ASHLAND, OR 97520
           TELEPHONE NO.:          541-944-2066                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):        HEJDJMPARJS@GMAIL. COM
     ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          STREET ADDRESS:          111 North Hill Street
         MAILING ADDRESS:          111 North Hill Street
         CITY AND ZIP CODE:        Los Angeles, CA 90012
             BRANCH NAME:          Stanley Mosk Courthouse
                                            (This section applies only to family law cases.)
            PETITIONER:
                     HEIDI MARIE BROWN
         RESPONDENT: ARNAUD PARIS
         OTHER PARTY:
                                           (This section apples only to guardianship cases.)                                 CASE NUMBER:

GUARDIANSHIP OF (Name):                                                                                           Minor

                  DECLARATION UNDER UNIFORM CHILD CUSTODY
                  JURISDICTION AND ENFORCEMENT ACT (UCCJEA)
1. I am a party to this proceeding to determine custody of a child.
2. 0      My present address and the present address of each child residing with me is confidential under Family Code section 3429 as
          I have indicated in item 3.
3. There are (specify number):        2       minor children who are subject to this proceeding, as follows:
   (Insert the information requested below. The residence information must be given for the last FIVE years.)
a. Child's name                                                                 Place of birth                                  Date of birth                          Sex
EVA LILIE PARIS                                                                ASHLAND,OR                                      01/15/2015                             F
Period of residence                    Address                                                   Person child lived with (name and complete current address)   Relationship
                                       ASHLAND,OR                                                Heidi M. Brown, 2256 ABBOTT A VE,
MAY2023 to present                     0         Confidential                                    0       Confidential        Ashland, OR 97520                 MOTHER
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)
                                                                                                 Heidi M. Brown, 665 Leonard Street,
Oct 2022 toApr 2023 Ashland, OR                                                                  Ashland, OR 97520                                             MOTHER
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)
                                                                                                 Heidi Brown & Arnaud Paris
July 2022toOct 2022                    Ashland, OR                                               665 Leonard St., Ashland, OR 97520                            Mother & Fathi
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)
                                                                                                 Heidi Brown & Arnaud Paris
Aug 201StoJuly 2022 Paris, France                                                                4 rue Malher, 75004 Paris, France                             Mother & Fath,
b. Child's name                                                                 Place of birth                       Date of birth                                 Sex
JULIETTE MANON PARIS
0        Residence information is the same as given above for child a.         ASHLAND,OR                                       01/15/2015                             F
         (If NOT the same, provide the information below.)
Period of residence                    Address                                                   Person child lived with (name and complete current address) Relationship

                      to present       D         Confidential                                    D       Confidential
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)


                to
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)

                to
                                       Child's residence (City, State)                           Person child lived with (name and complete current address)

                 to

c.   D       Additional residence information for a child listed in item a orb is continued on attachment 3c.
d.   CJ      Additional children are listed on form FL-105(A)/GC-120(A). (Provide all requested infonnation for additional children.)
                                                                                                                                                                              Page 1 of 2
    Form Adopted for Mandatory Use                                                                                                                            Family Code,§ 3400 et seq.;
     Judicial Council of California                      DECLARATION UNDER UNIFORM CHILD CUSTODY                                                           Probate Code,§§ 1510(1), 1512
FL-105/GC-120 [Rev. January 1, 2009]                     JURISDICTION AND ENFORCEMENT ACT (UCCJEA)                                                                  www.courtinfo.ca.gov

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I-    SHORTTITLE
                                                                                                        CASE NUMBER:
                                                                                                                                    FL-105/GC-120




4.     Do you have information about, or have you participated as a party or as a witness or in some other capacity in, another court case
       or custody or visitation proceeding, in California or elsewhere, concerning a child subject to this proceeding?
       W      Yes     D     No (If yes, attach a copy of the orders (if you have one) and provide the following information):

                                                        Court              Court order                                     Your
       Proceeding                Case number                               or judgment      Name of each child         connection to      Case status
                                                (name, state, location)
                                                                               (date)                                    the case
                                          Jackson County
 a . 0 Family                   23DR08269 Circuit Court, OR                8/18/2023 Eva & Juliette Paris Party                           Closed

 b. D       Guardianship

                                           wIJHamK.
 c. @Other
                                 23FL04174 RidgewayCourt,CA 9/01/2023 Eva & Juliette Paris Party                                          Closed

       Proceeding                                          Case Number                                     Court (name, state, location)

 d D        Juvenile Delinquency/
  •         Juvenile Dependency

 e. D       Adoption


5.    0      One or more domestic violence restraining/protective orders are now in effect. (Attach a copy of the orders if you have one
             and provide the following information):

           Court                                County             State              Case number (if known)                Orders expire (date)

 a. D         Criminal

 b . 0 Family                                  Jackson           Oregon                   24SK01646                           No Date Set
 c D         Juvenile Delinquency/
  •          Juvenile Dependency
 d.    D      Other


6.     Do you know of any person who is not a party to this proceeding who has physical custody or claims to have custody of or
       visitation rights with any child in this case? D Yes 0        No (If yes, provide the following information):
     a. Name and address of person                   b. Name and address of person                     c. Name and address of person




 D         Has physical custody                      D       Has physical custody                      D       Has physical custody
 D         Claims custody rights                     D       Claims custody rights                     D       Claims custody rights
 D         Claims visitation rights                  D       Claims visitation rights                  D       Claims visitation rights
     Name of each child                              Name of each child                                 Name of each child



I declare under penalty of perjury under the laws of the State of California that the foifreg
                                                                                           in is true and c o r r L c t .
Date: May 20, 2024                                                                                              '
Heidi Marie Brown
                             (TYPE OR PRINT NAME)
                                                                                  ►                 J
                                                                                 _ _ _ _.......,.,._,._,__(_SI-G-NA-t+U-R_E___..F_D=EC~LA-RA~N=T)=----


7.    0      Number of pages attached:         44
      NOTICE TO DECLARANT: You have a continuing duty to inform this court if you obtain any information about a custody
                           proceeding in a California court or any other court concerning a child subject to this proceeding.
FL-105/GC-120 [Rev. January 1, 2009]         DECLARATION UNDER UNIFORM CHILD CUSTODY                                                          Page 2of 2
                                             JURISDICTION AND ENFORCEMENT ACT (UCCJEA)
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 1

 2

 3

 4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                               FOR THE COUNTI OF JACK:SON

 6                                      Family Law Department

 7 In the Matter of:
                                                )
 8   Arnaud Paris,                              ) Case No.: 23DR08269
                                                ) Related Case No.: 22DR17285
 9
                          Petitioner,           )
10              and                             ) LIMITED JUDGMENT RE:
                                                ) REGISTRATION
11   Heidi Brown,                               )
                                                )
12                        Respondent.           )
13

14
            THIS MATTER came before the Court for hearing on July 12, 13, and 18, and
15
     August 3 and 4, 2023. Respondent Heidi Brown, hereinafter Mother, appeared in person
16
17   with Taylor L. M. Murdoch, of her attorneys Buckley Law P .C. Petitioner Arnaud Paris,

18   hereinafter Father, appeared in person on July 12, 13 and 18, and failed to appear on August

19   3 and 4, 2023.      By the stipulation of the parties, the evidentiary hearing occurred
20   simultaneously with the evidentiary hearing on Father's Motion to Dismiss for Lack of Sulject
21
     Matter Juri.rrliction in Jackson County Circuit Court case no. 22DR17285, until said motion was
22
     granted by the Court on August 3, 2023. Father was represented by counsel, Thomas A.
23
     Bittner, of his attorneys, Schulte Anderson, in that matter, and had his French counsel
24
25   Terrence Richoux, available by phone during these proceedings on July 12, 13 and 18.
                                                                             Buckley Law PC
     Page 1 - LIMITED JUDGMENT RE: REGISTRATION                        5300 SW Meadows Rd., Ste. 200
                                                                           Lake Oswego, OR 97035
                                                                    'fol: 503-620-8900 Fax: 503-620-4878
                                                                             tlm@buckley-law.com
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